  Case 16-12928       Doc 46   Filed 06/06/19 Entered 06/06/19 14:04:55                Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:      16-12928
                                              )
Dennis A. Kovalsky,                           )                Chapter: 7
                                              )
                                                               Honorable Deborah L. Thorne
                                              )
                                              )
               Debtor(s)                      )

            ORDER AUTHORIZING TRUSTEE TO EMPLOY SPECIAL COUNSEL

         Upon the application of Phillip D. Levey, trustee herein, for an order pursuant to 11 U.S.C.
Section 327(a), authorizing him to employ William J. Factor and the law firm of FactorLaw of Chicago,
Illinois, to serve as special counsel for the estate as set forth in said application, and it appearing that
such authorization is in the best interest of the estate, it is
         ORDERED, that Phillip D. Levey, trustee herein, is authorized to employ William J. Factor and
FactorLaw as special counsel for the estate with respect to any claims against Linda M. Kovalsky, and it
is further
         ORDERED, that the compensation of William J. Factor and FactorLaw for legal services
rendered pursuant to the authorization of this order be equal to one-third (33.33%) of all sums recovered
(less set-offs, counter-claims and the like) plus reimbursement of costs advanced subject to the final
approval of this Court after the conclusion of such services upon the filing of a proper application
therefor.




                                                            Enter:


                                                                     Honorable Deborah L. Thorne
Dated: June 06, 2019                                                 United States Bankruptcy Judge

 Prepared by:
 Phillip D. Levey
 2722 North Racine Avenue
 Chicago, IL 60614
 773-348-9682
